         Case 3:12-cr-04352-JLS Document 524 Filed 09/16/14 PageID.2306 Page 1 of 5
AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA lit                             ,.~
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                                                                                                                 j"ll     lot

            UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMIN~ASE' :;.
                                 v.                                 (For Offenses Committed On or Aftei:\V)en1ber L~it)87)
                  ARA KESHISHYAN (l)
                   aka Levon Keshishyan                                Case Number:         12CR4352·JLS                 ;;1 "('1'!


                                                                    MICHAEL HARRY ARTAN
                                                                    Defendant's Attorney
REGISTRATION NO.                 35422298
o­
IZI pleaded guilty to count(s)          ONE OF THE INDICTMENT

    was found guilty on count(s)
    after a plea ofnot guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
Title & Section                   Nature ofOfl'ense                                                                     Number(s)
18 USC 371                        CONSPIRACY                                                                                    1




     The defendant is sentenced as provided in pages 2 through                5            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
IZI Count(s)    (remaining counts)                            are          dismissed on the motion of the United States.

IZI   Assessment: $100.00 IMPOSED



IZI   No fine                         Forfeiture pursuant to order filed                                          , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    September 12. 2014
                                                                    Date of Imposition of Sentence



                                                                         N. JANIS L. SAMMARTINO
                                                                         ITED STATES DISTRICT JUDGE




                                                                                                                         12CR4352·JLS
            Case 3:12-cr-04352-JLS Document 524 Filed 09/16/14 PageID.2307 Page 2 of 5
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:               ARA KESHISHYAN (1)                                                      Judgment - Page :% of 5
CASE NUMBER:             12CR4352-JLS

                                                 IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:

FIFTY-SEVEN (57) MONTHS




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
IZI   The court makes the following recommendations to the Bureau of Prisons:

             1. Residential Drug Abuse Program (RDAP)
             2. Central District of California or within the Western Region of the United States


      The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
              at
                   - - - - - - - A.M.                        on
      o       as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
IZI
      Prisons:
      IZI     on or before October 24,2014 before 12:00 PM.
      o       as notified by the United States Marshal.
      o       as notified by the Probation or Pretrial Services Office.

                                                       RETURN
I have executed this jUdgment as follows:
                               _________________________ to ______________________________
      Defendant delivered on


at                                         ; with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                      By                   DEPUTY UNITED STATES MARSHAL



                                                                                                        12CR4352-JLS
                 Case 3:12-cr-04352-JLS Document 524 Filed 09/16/14 PageID.2308 Page 3 of 5
       AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

       DEFENDANT:                   ARA KESHISHY AN (1)                                                                          Judgment - Page 3 of 5
       CASE NUMBER:                 12CR4352-JLS

                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

THREE (3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
D         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
I2$l      The defendant shaH not possess a fireann, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
[?3J
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

             If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
        such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
        of Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
        I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
        2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
        3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4)  the defendant shall support his or her dependents and meet other family responsibilities;
        5)  the defendant shaH work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
        6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
        7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
        8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
             unless granted permission to do so by the probation officer;
        10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
            observed in plain view of the probation officer;
        11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        12) the defendant shaH not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
            the court; and
        13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
             with such notification requirement.

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       Case 3:12-cr-04352-JLS Document 524 Filed 09/16/14 PageID.2309 Page 4 of 5
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:           ARA KESHISHY AN (l)                                                   Judgment - Page 4 of5
CASE NUMBER:         12CR4352-JLS


                               SPECIAL CONDITIONS OF SUPERVISION

   1. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
      or data storages devices or media, and effects to search at any time, with or without a warrant, by any
      law enforcement or probation officer with reasonable suspicion concerning a violation of a conditions of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.C. §§3563(b)(23); 3583(d)(3).

   2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

   3. Be prohibited from opening checking accounts or incurring new credit charges or opening additional
      lines of credit without approval of the probation officer.

   4. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   5. Notify the Collections Unit, U.S. Attorney's Office, of any interest in property obtained, directly or
      indirectly, including any interest obtained under any other name, entity, including a trust, partnership, or
      corporation, until restitution is paid in full.


   6. The defendant shall abstain from consuming alcohol.


   7. The defendant is prohibited from visiting any gambling facilities or casinos.




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         Case 3:12-cr-04352-JLS Document 524 Filed 09/16/14 PageID.2310 Page 5 of 5
 AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:              ARA KESHISHYAN (1)                                                      Judgment - Page 5 of 5
CASE NUMBER:            12CR4352-JLS

                                            RESTITUTION

The defendant shall pay restitution in the amount of     $1,049,585.00         unto the United States of America.




This sum shall be paid as follows:

Pay restitution in the amount of $1,049,585.00 to Citibank, 898 E. Vista Way, Vista, California, 92084 (Attn:
Chuck Alvarado), through the Clerk, U.S. District Court. Payment of restitution shall be forthwith. During the
period of incarceration the defendant shall pay restitution through the Inmate Responsibility Program at the rate
of 50% of the defendant's income, or $25.00 per quarter, whichever is greater. The defendant shall pay
restitution during his supervised release at the rate of$1,000 per month. The payment schedules do not
foreclose the United States from exercising all legal actions, remedies, and process available to it to collect the
restitution judgment.

Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States
Attorney's Office of any change in the defendant's mailing or residence address, no later than (30) days after
the change occurs.




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